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		2016-04-20-02 
	


  







The Supreme Court of South Carolina

  
    
      
        Re:  Amendments to Appendix H to Part IV, South Carolina Appellate Court Rules
      Appellate  Case No. 2015-001110
      
    
  


ORDER

The South Carolina Board of Paralegal Certification  requests the regulations setting forth the required number of Continuing  Paralegal Education hours for paralegals certified under Rule 430, SCACR, be  reduced from twelve hours per year to ten hours per year.&nbsp; We grant the request and amend paragraphs (A)  and (B) of Regulation XII, Appendix H to Part IV, SCACR, as set forth below:
XII. CONTINUING PARALEGAL EDUCATION (CPE)

  A. Each certified  paralegal subject to these regulations shall complete ten (10) hours of  approved continuing education during each year of certification.
      B. Of the ten (10) hours, at least one (1) hour shall  be devoted to the areas of professional responsibility or professionalism or  any combination thereof.

.&nbsp;&nbsp;&nbsp;&nbsp; .&nbsp;&nbsp;&nbsp;&nbsp;  .&nbsp;&nbsp;&nbsp;&nbsp; .
These amendments are effective immediately.
&nbsp;

  
    
    
      s/Costa M. Pleicones&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;C.J.
        
        s/Donald W. Beatty&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        J.
        s/John W. Kittredge&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        J.
        s/Kaye G. Hearn&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; J.
        s/John Cannon Few&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; J.
    
  

Columbia, South Carolina
  April 20, 2016
  







